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                               CERTIFICATE OF SERVICE

        I hereby certify that on February 17, 2022, a copy of the above and foregoing was filed
electronically with the Clerk of Court using the CM/ECF system. Notice of this filing has been
forwarded to all parties, by and through their attorneys of record, by operation of the Court's
electronic filing system or by other means in accordance with the FEDERAL RULES OF CIVIL
PROCEDURE.

                                     Via CMRRR and/or
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